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                           STATE OF MICHIGAN

         IN THE CIRCUIT COURT FOR THE COUNTY OF WAYNE


HARRISON HOME SERVICES, INC.,
as Assignee of Jayla Lile,
                                          Case No. 22-011382-NF
           Plaintiff,                     Honorable Leslie Kim Smith

vs

STATE FARM MUTUAL AUTOMOBILE
INSURANCE COMPANY,

           Defendant.

JUSTIN HAAS (P53153)
JESSICA FABER (P76439)
HAAS & GOLDSTEIN, P.C.
Attorney for Plaintiff
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Farmington Hills, MI 48334
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jfaber@haasgoldstein.com

           THIS IS TO CERTIFY THAT NO OTHER CIVIL
           ACTION ARISING OUT OF THE SAME
           TRANSACTION OR OCCURRENCE AS ALLEGED
           IN THIS COMPLAINT HAS HERETOFORE BEEN
           COMMENCED IN THIS COURT.

                             By: /s/ JUSTIN HAAS
                             JUSTIN HAAS (P53153)


                               COMPLAINT




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      NOW COMES Plaintiff, by and through its attorneys, HAAS &

GOLDSTEIN, PC, and for its cause of action against the Defendant, hereby says as

follows:

      1.     Plaintiff is a corporation authorized to conduct business under the

laws of the State of Michigan and at all times pertinent herein was conducting

business in the State of Michigan.

      2.     Defendant is a corporation, duly organized and existing under the

laws of the State of Michigan and, at all times pertinent herein, was, and currently

is, conducting business in the County of Wayne, State of Michigan.

      3.     Pursuant to MCL 600.2041, “every action shall be prosecuted in the

name of the real party of interest.”

      4.     All rights, privileges and remedies to payment for health care services,

products or accommodations provided by Plaintiff to the injured party, Jayla Lile,

for which the injured party is or may be entitled to under MCL 500.3101, et seq,

the No Fault Act, have been assigned to Plaintiff, hereto attached as Exhibit A.

      5.     As a result of said assignment, Plaintiff bears the burden of pursuit of

payment for health care services, products or accommodations, provided by

Plaintiff to the injured party.

      6.     Plaintiff pursued the claims at issue with reasonable diligence.




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         7.    Further, Plaintiff has a direct cause of action pursuant to MCL

500.3112.

         8.    The amount in controversy is more than Twenty-Five Thousand

($25,000) Dollars, exclusive of costs and attorneys’ fees and jurisdiction is

otherwise proper with this Court.

                                COUNT I- PIP CLAIM

         9.    Plaintiff re-alleges and reincorporates each of the preceding

paragraphs as though fully set forth herein.

         10.   On March 23, 2012, Jayla Lile, (hereinafter “the injured party”)

sustained accidental bodily injuries within the meaning of the statutory provisions

of MCL 500.3105.

         11.   Defendant is first in order of priority and/or in the order of priority to

pay for the injured party’s claim for no fault personal protection insurance benefits

in accordance with Chapter 31 of the Michigan Insurance Code, more commonly

known as the “no-fault insurance law.”

         12.   Defendant assigned claim number 22-107M548 to the injured party’s

claim.

         13.   As a result of the aforementioned injuries, Plaintiff provided

reasonably necessary products, services and/or accommodations to aid in the

injured party’s care, recovery and/or rehabilitation.



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       14.   Defendant became obligated to pay for certain expenses incurred for

reasonably necessary products, services and/or accommodations rendered for the

injured party’s care, recovery or rehabilitation as a result of the injured party’s

sustained accidental bodily injuries arising out of the ownership, operation,

maintenance or use of a motor vehicle as a motor vehicle.

       15.   Plaintiff has provided reasonably necessary products, services and/or

accommodations to the injured party and continues to do so, resulting in the

following outstanding balances to date:

             a.    Jayla Lile   DOS 07/01/21 – 09/17/22

                   $297,681.80.

       16.   Plaintiff timely submitted billings to Defendant for products, services

and/or accommodations that were rendered to the injured party and that were

reasonably necessary for the care, recovery or rehabilitation of the injured party’s

injuries.

       17.   Plaintiff also submitted to Defendant supporting documentation and

forms necessary for Defendant to determine the reasonableness, necessity and

amount of the medical products and/or services rendered to the injured party.

       18.   Defendant was provided reasonable proof of the fact and of the

amount of losses sustained and charges incurred.




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      19.    To date, Defendant has unreasonably refused and/or delayed in

making payment to Plaintiff for the products, services and/or accommodations

rendered.

      20.    Pursuant to MCL 500.3157, Plaintiff is entitled to recover the

outstanding balance for the products, services and/or accommodations to the

injured party from Defendant.

      21.    Plaintiff has requested payment from Defendant for the amount of the

bills due and owing and Defendant has refused and/or neglected to pay them.

      22.    Plaintiff is entitled to reasonable and actual attorney fees incurred in

this action pursuant to MCL 500.3148.

      23.    Plaintiff is also entitled to costs and interest pursuant to MCL

500.3142 for the overdue bills that have not been paid by Defendant within 30 days

after Defendant received reasonable proof of the fact and of the amount of loss

sustained.

      24.    Pursuant to Insurance Bulletin 92-03, Defendant is “required to

provide insureds and claimants with complete protection from economic loss for

benefits provided under personal protection insurance.”

      25.    Satisfaction of the judgment obtained by Plaintiff will discharge

Defendant of its obligation to the injured party for services Plaintiff provided to the

injured party.



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      26.    Plaintiff as assignee of the injured party is the real party of interest

and as such Plaintiff has the right to prosecute this action against Defendant

pursuant to MCL 600.2041.

            COUNT II- BREACH OF CONTRACT/CONTRACTUAL
                      AND/OR STATUTORY DUTIES

      27.    Plaintiff re-alleges and reincorporates each of the preceding

paragraphs as though fully set forth herein.

      28.    Defendant’s failure to pay Plaintiff personal protection insurance

benefits constitutes a material breach of contractual and/or statutory duties

pursuant to the contract where the injured party is qualified as an “insured,” or

otherwise entitled to benefits and/or pursuant to MCL 500.3101, et seq.

      29.    As a direct and proximate cause of Defendant’s breach of contractual

and/or statutory duties, Plaintiff has sustained damages.

      WHEREFORE, Plaintiff claims as damages against Defendant in a sum

more than Twenty-Five Thousand ($25,000) Dollars, which the triers of fact deem

reasonable, plus costs, attorney fees and interest most wrongly sustained.

                                       Respectfully submitted,

                                       /s/ JUSTIN HAAS
                                       HAAS & GOLDSTEIN, PC
                                       JUSTIN HAAS (P53153)
                                       Attorneys for Plaintiff
                                       31275 Northwestern Hwy., Ste. 225
                                       Farmington Hills, MI 48334
Dated: September 26, 2022              (248) 702-6550

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